IN THE EASTERN DISTRICT oF PENNSYLVANIA

Sergey Yeletskiy

Plaintiff

V. :
:No.

.loshua A. Miller, individually and in his : Civil Action
Official capacity as a police officer for
Bushl<ill Township Police Department, and :
Michael McLouth, individually and in his
Offlcial capacity aS Chief of Police for
Bushl<ill Township Police Department, and :
Bushkill Township Police Department, and :
Northampton County d/b/a Northampton
County DUI a/k/a Easton DUI, and Moore
ToWnShip d/b/a Moore ToWnship Police
Departrnent, and Gary West, individually
And as Chief of Police for Moore Tovvnship :
Police Department :

Defendants
N()TICE OF REMOVAL

Defendants Joshua A. Miller, Michael McLouth, and Bushl<ill Township Police

Department hereby remove this case from the Northa.mpton County Court of Common Pleas:

l.

2.

On August 23, 2018, Plaintiff filed a Writ of summons in the state court. (Ex. A).
On January 31, 2019, Plaintiff filed his complaint in the State court (EX. B).

The complaint Was served on Defendant Joshua A. Miller on February 25, 2019. All
other Defendants Were served With the complaint on February 18, 2019.

The complaint alleges violations of Plaintiff’s Fourth, Eighth, and Fourteenth
Amendrnent rights (EX. B).

Removal is appropriate based on the federal constitutional violations alleged by Plaintiff.

 

10.

Federal courts have jurisdiction over claims that arise under federal laws generally, 28
U.S.C. §1331, and more specifically over claims asserting violations of the U.S.
Constitution. 28 U.S.C. §1343.

Accordingly, this Court has removal jurisdiction because Plaintiff` raises a federal
question generally, 28 U.S.C. §1441(a), and civil rights questions more specifically 28
U.S.C. §1443.

Furthermore, counsel for co-dei"endants Northarnpton County, Northampton County DUI,
Moore ToWnship, Moore Tovvnship Police Department, and Gary West concur in the
removal of this case.

Pursuant to 28 U.S.C. §l446(d), removing Defendants Will contemporaneously serve a
copy of this thice of` Removal on Plaintiff and file this Notice in the Northampton
County Court of Common Pleas.

Venue is proper because Defendants reside in this District and the events giving rise to

this action took place vvithin this District. 28 U.S.C.A. §l39l(b).

 

Date: March 18, 2019

Respectf`ully submitted,

L

 
 

Frank J. Lavery, Jr., Esquir§\}
Pennsylvania Bar No. 4237

225 Market Street, Suite 304

P.O. Box 1245

Harrisburg, PA 17108-1245

(717) 233-6633 (phone)

(717) 233-7003 (fax)
flavery@laverylaw.com

Atl'orneyfor Defendanf.s' Mz'ller, McLoul‘h,
and Bushkill Townshrp Poh`ce Dept.

 

CERTIFICATE OF SERVICE
I, Katy Reilly, an employee of Lavery Lavv, do hereby certify that on this 18th day
of l\/Iarch, 2019, 1 served a true and correct copy of the foregoing Notice of Removal via U.S.

First Class Mail, postage prepaid, addressed as follows:

Matthew B. Weisberg, Esquire
Weisberg Law, P,C.

7 South Morton Avenue
l\/Iorton, PA 19070
Arromeyfor Plaim'ijj’

Gary Schafkopf, Esquire
Schafkopf LaW, LLC

11 Bala Avenue

Bala Cynvvyd, PA 19004
Artomeyfor Plaimijjp

David J. MacMain, Esquire

The MacMain Lavv Group, LLC

433 West Marl<et Street, Suite 200

West Chester, PA 193 82

Alr‘omeyfor Norl'hampton Counly cl/b/a Northampton Counly DUI a/]c/a Easton DU]r

Patrick J. Boland, II, Esquire

Marshall Dennehey Warner Colernan & Goggin

50 Glenrnaura National Boulevard

Moosic, PA 18507

Altomeyfor Moor"e Township d/b/a Moore Townshz'p Police Deparrmem and Gary Wesr

YMF @%¢/

K'aty Re'illy, Legal r’(ssistant to
Franl< J. Lavery, Jr., Esquire

 

EXHIBIT A

WEISBERG LAW

Matthew B. Weisberg, Attorney ID No.: 8557‘0
7 South Morton Ave.

Merton, PA

610-690~0801

Fax: 610-690-0830

SCHAFI<OPF LAW, LLC

Gary Schad<opf, Attorney ID No. 833 62
11 Bala Ave

Bala Cynwyd, PA 19004

610~664~5200 Ext 104

Fax: 888~23 8~1334

 

Attorney for Piaintiff Attorney for Plaintiff
`SERGEY YELETSI{Y NORTHAWTON COUN'I'Y COURT OF
assignee M…
Plaintiff`,
TERl\/I
V.

OFFICER J 0 SIEI.`UA A. l\/I]LLER .
individually and in his of`Ecial capacity as a
police officer for the Bushi<iil Tcwnship
Police Deparfment

114 Bu.shl<ill Center Road

Nazareth, PA 18064

and

CH]EF OF POLICE MICHAEL

IV.[CLOUTH

lndividua]ly and in his official capacity as
the Chief` of Po]ice for the Bushl<ill
Township Police Depart)nent

114 Bushl<;ill Center R.oad

Nazareth, PA 18064

and

BUSHK]LL TOWNSHIP PGLICE
DEPARTMENT

11 4 Bushlcjll Center Road

Nazareth, PA 18064

and

NORTI:IAMPTON COUNTY
669 Washington Street
Easton, .PA 18042

and

 

NO-w& gulan- ‘7&@0

 

 

 

 

 

NORTHAMPTON COUNTY DU.[ A!K/A
EAS'I`ON DUI

105 S. Union St # 3

Easton, PA 18042

and

MG ()RE 'I‘OWNSHIP
2491 Cornrnmaity Drive
Bath, PA 18064

tend

MOORE TOWNSHI:P POLICE
DEPARTMENI`

2491 Community Drive

l`:?»ath1 PA 18014

and

CH[EF OF POLICE GARY WEST
Individually'and in his official capacity as
the Cbie.f` 'cf`Pclice for the Moore 'I`cwnsbip
Pclice Depaltment

2491 Comrnunity Drive

Barh, PA 13014

Def`endants

 

 

 

PRAEC]I'E TO ISSUE WRIT OF SUMIV.[ONS

TO THE PROTHONOTARY:

Kindly issue a~Wri't of` summons in the above~captioned matter.

Respectfully Submitted,

 

 

Ws.tsssac LAW'

BY:__/s/Matrhew B. Weisber‘£
MATTHEW B. W‘srsssne, ssQ

DATED: 8-22-18

scHAPr<:oPF LAW, LLc

BY: ‘ j
eAav c Fr<oPF, s . "'

DATED: 8~22-18

 

 

 

lN THE COURT OF CONIMON PLEAS OFNORTHANIPTON COUNTY, PENNSYLVAN|A (:,{w/ `/..¢°

 

clvu_ olvlslcN
coMMoNv\/EALTH or~' PENNsYLvAN\A
eouNTY cs NoRTHANlPToN
ease Ev YELETSKY '
' ' PIalntitf(s) _
vs _ - ' No. c~cc¢s~cv~zm 8»07860

OFFECER JOSHUA A. NliLLERj CH|EF OF POL|CE |VE|CHAEL
NECLOUTH; BUSHK|LL TOWNSH]P POLICE DEPA'RTMENT;
NORTHAN_|PTON COUNTY; NOR'§'HAMPTON COUNTY DU| A/K/A
EASTON DU|; NIOORE TQWN§H|P; MOORE TOWNSHEP POL|CE
DEPARTMENT; AND CHIEF O`F POL|CE GARY WEST

Defendaat(s)
clch Ach`oN - LAW s
JURY Tslr\:_ oEMANosD
WR¢T cF sumchs

TO: ' OFF|CE.Fi JOSHUA A. N||LLER; CH|EF OF POLlCE NI]CHAEL MCLOUTH; BUSHK|[.L TOWNSH|P POL|CE
DEF’ARTMENT; NORTHAMPTON COUNTY; NORTH-AN|PTON COUNTY DUi NKIA EASTON DU|; MOORE
TOWNSH|P; MOORE TOWNSH|P POL|CE DEPARTME.NT; 'AND CH|EF OF POL|CE GARY WEST

You are notified that ssaesv YELETsKY
' (Name(a) cf P|aintift(s)

has (have) commenced an action against ycu.

care Aueusrzs,zcrs ` ` - . `- Hellysuggiero
` Prothonotary

ay l {@/\'O){;ll§;bl/btyM/l) `

Aftomey Na,me: ' MATTHEW WEI$BERG, ESQ GARY SCHAFKOPF, ESQ

Adaress; 7 sears ncarcN A\/E `11 BALA`A\/s
NIORTON, EA 19070 BALA CYNWYD, PA 19004
1 ‘ ~ A `FHUE OOPY
Telephcna No. (610) 690~0801 (610) 664-5200 - ‘ ATT§§§T»_
Attcrney for Plaintitf(e] ' . ~_
HOLLY HUGG!EFIO
GLEFII( OF COU FlT

~ GiVlL,/PF%OTHONOTARY
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EXHIBIT B

 

 

 
       

 

   
 

 

  
  

 
  

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Lead Plaintlff‘s Name‘. Leac| Dafendant“s Namo:
Sargey Yeletskly Otflcer Joshua A. Mll|er

 

Dcllar Amonnt Requestcd: l;lwithin arbitration limits

il , g)l_ A'm money damages requested? w Yes m N° (cheoic cnc) |K{outsx’de arbitration limits

 

Is this a Class Aetir)n Su£¢'?, IIJ Ye.s l:i Nc Is this an mJAppeal? 113 Yes E¢} Nn

 

 

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ill Chcclc here ifyou have no attorney fare n Self-Represented [Pro Se] thigant)

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WEISBERG LA.W
Ma.ttlww B. Weisberg, Attorney LD No.: 855'!0
7 South Morfon Ave.

sCHAFI<;OPF LAW, LL¢::
Gary Sohafkopf, Attomey ID No. 833 52
1 l Bv.la Ave

 

Mc)rwn, 'PA 19070 Ba]a Cynwyd, PA 19004
610~690-0601 610-664-5200 th 104
Fax: 610-690-0380 Fax: 888-2 83-1334
Attorney for I’lain¢i£f Atto may for Plaintift’
: NORTHAL»£PTON COUNTY COUR'I`

SERGEY YELETSKIY : OF COMMON PLEAS

206 Monocaoy Drive :

Bath, PA 13014 : No. C48~V-2018~7860

PlaintiE :
v.

J()SHUA A. M}LLER, individually and in
his official capacity as a police officer for
Bushkill Tuwnshlp Polioo Depnrtment

1 14 Buslnkill Center Rd

Nazaretb, PA 18064

and

MCHAEL MCL()UTH, individually and
inhis official capacity as Chjef of Police for
Busbkill Z`ownship Policc Deparunent

1 14 Bushl<ill Centcr Rd

Nazmth, PA 18064

and

BUSHKILL TOWNSH]]? POLIC!E
I)EPARTNUENT

1 14,Busl:1kill Cen'cer Rd

Naza.r:e)th, PA 18064

and

NORTHAMPTON COUNTY dib/a
NORTHAMPTON CO`UN'I`Y ])UI aflr/a
EAS'I`()N ])UI

105 Suuth Ur\ion Stl'eet #3

Easton, PA13042

and

bloom TQWNSHIP ama Moomn
To szHn» roman I)EPARTMENT

 

 

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JURY TRIAL DBMANDBD

 

 

 

 

 

 

 

 

2491 Community Drive
Bath, PA18014

and

GARY WHIST, individually and as Cbiof of

 

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Polico for Mocro Towoship Polico “"','TH
Dcpartmcnt ij ;§;
2491 Community Drivc : ii
Both, PAISOI 4 : ;Ti
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NOTICE

You havc been sued in court lf you Wish
to defend against thc claims set forth in the
following pagos, you must telco action Wltbin
twenty (20) days after this complaint and
notice arc scrvcd, by entering a imitth
appearance personally or by alstoch and
filing in Writlng with thc court your defenses
or objections to tile claims set forth against
you. You arc warned that if you fail to do 80
1110 case may proceed without you and a
judgment may be cntcrcd against you by thc
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claimed in thc complaint or for any other
claim or relief requested by thc plaintiff
You may losc money or property or other
rights nnportcnt to you.
YOU SHOU[.J) '1`AKE THIS PAPER TO
YOUR. LAWYER AT ONCE. IF YOU' DO
NOT HAVE A LAWYER, GO TO OR
TELBPHONE THB OFFICE SET FO.RTH
BELOW‘ THIS OFFICE CAN PROVJDE
YOU WITH mFORMATION ABOUT
BIRING A LAWYBR.

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Northamp€on Cotmty Bar Assooiation
155 S 9"‘ Stroct
Easton, PA 18042
61(3-258-6333

 

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I-IONORARIO.
Northamptoo County Bar Association
155 a 9“' Sa~oot~
Baston, PA 18042
610~258»633

 

 

 

 

 

WBISBERG LAW

Matthow B. Weisbcrg, Attcroey ]]3 No.: 85 5 ?0
7 South Morton Ava.

Morton, PA 19070

610-690-0801

Fax: 610~690-0880

SCI'IA,FKOPF LAW, LLC

Gary Schatkopt`, Attornay ID No. 833 62
11 Bala Avo

Bala Cynvvyd, PA 19004

610-664»5200 Ext104

Fax: 388~283~1334

 

his official capacity as a police officer for
Bushkiil Township Polioo Dcparuneat
114 Bushld]l Contor Rd

Naaaroth, PA 18064

and

MICH.AEL MCLUUTH, individually and
in his official capacity as Chiet` ofPoIico fox
Busbkill Towns]tip ]?olioo Departmont

114 Bushl<;ill Ccnter ltd

Nazaxoth, PA 18064

and

BUSI~IK]LL TOWNSH[P POLIC`E
DEPAR'I`MENT `

114 Boshl<ill Contor Rd

Naaaroth, ]?A. 1 8064

and

NORTHAM;PTON COUN'I`Y dib/a
NORTHAMP'I‘ON COUN”.[`Y ])UI aflo'a
EASTON DUI

105 South Uoion Stroct #3

Easton, PA18042

and

MOORE TOWNSHIP dfbfa MOORE
TOWNSHIP POLICE DEPARTMENT

 

JOSHUA A. MILLER, individually and in '

 

Atttomay for I’laintiff Attornay for Plaintiff
: NORTHA.MPTON COUNTY COUR'I`
SERGEY YELETSKIY : DF COMMON PLEAS
206 Mox;iocacy Drivo :
Bath, PA 18014 : No. C48~V-2018-7860
Plaintiff :
v. :

: .TURY TRIA.L OF 'I`WBLBVB (12)

.TURORS DEMANDBD

 

 

 

 

 

 

 

 

 

 

2491 Community Dcive ‘ :
Bath, PAlSOM

and

GARY WEST, individually and as Chief of
Police for Moore Tovmship Police

 

 

 

 

 

Department
2491 Commoaity Drive :
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meantime §
civilt Ao'rtoN comm fn r:.,
~ va \':»i 225
Paa'rraa,aoal§a)ze'rroiv aaa gives “*,t - c,,~, ""s"i

",1"__'”-,::~.'*»

-'-.1'¢~‘»» _, ` saw
Plaiatiff, Sorgey Yoletskiy, is an adult individual residing at the above cap_`tiof\":'d rid’drest§:r
$;;."E ; ~»-. d §

     

 

Defendant, Ofi:icer loshoa A. Iviiller, who at all times material herein Was

.~'

=~ o
officer for the Bushlciil Policc Department is used both individually and in§iiisfoiiieial

capacity

. Defondaat, Michael Mclouth, who at all times material herein Was employed as Chjef of

` Foiice for the Busbl<ill Police Departmemi is used both individually and in his official

capacity

Bushldl`l Township Poiice Department is the duly established law enforcement agency of
Boshldll ’l‘owoship, located or having a principal place of operation at the above
captioned acidress.

Defendant, Nortilamptcn Coonty do ing business as Nerthampton DUI also known and
Easton DUI, is a municipality duly organized and existing under the laws of the
Commonwealth of Pcrmsyivania. Defendant, Northampton County DUI also knowa Ae
Eaaton DUI, is a division of the Northampton Coonty Coult of Common Pleas charged
with assessing potential candidates for ARD, a probationary program for first time DUI

offenders.

 

 

 

 

- 6. Defendent, Moore Townsln'p, doing business as Mo ore ’I'ownslnp Police Dcpmtmcnt is c
duly established lew enforcement agency of Moore Township, located or having o
principal place of operation at the above captioned cddress.

'?. Defendent, Ctery West, who at all times material herein was employed ss Chie;t`ofl°olice
for the Mocre Township Police Deparnncnt is used both individually and in luis oHiotnl
ccpacity.

3. This matter arises from the unlawful arrest of Plaintift'.

§. lurlsdictlon and venue ate therefore proper inNorthempton Connty.

OPERATIVE B‘ACTS

10. On or about Augttst 27, 2016, plcwtiil", Scl‘gey Yeletskiy, was ct the residence of his
wife, Ken~y Yeletskiy, from whom he was legally separated but maintained on amicable
t.'clntionshipl

11. Sergey Ycletslciy subsequently prepared an evening dinner for l{eny Yelctskiy, her
bcyfi'iend {in attendence) lochuc Gaycheclc, end for himself

12. During tide meal, chcheclc engaged in heavy consumption of alcohol become
bciiigerent, and subsequently brandished a weapon Whilc berating Sergey Yeletskiy.

13. G'aycheck additionally instigated a physical confrontation in the residence with the
Sergey Yeletskiy.

14. Sergey Ycletsldv left the premises to his other horne in New Yotk.

15. A former or active Pentw§rlvenie state constable Geycheck, declared that he was going to
contact the pclioe, falsify a report and get Sergey Yelctskiy arrested

16. Gaycheclc then got into his own vehicle and began to follow Sergey Yeletsldy.

 

 

 

 

 

17. Withln a relatively short period of time the office loshne Mi]ler of the Buehlcill Townehip
police, predicated upon conteet from Gayolzeok pulled Sergey Yeletekiy’n vehicle over to
the side of the road.

lS. The Moore Township police also arrived told were additionally present et the said stop of
the Yeletsl<y’s vehicle

19. I<ler):y Yeletslcly Wes called to the scene and promptly arrived et the location of the stop.

20, Kerxy Yeletskiy Wes lnfolmecl tim Geyoheel§ had called in a report that Sergey Yeletel<;iy
was intoxicated had beaten Kerry Yeletskiy, end had additionally harmed her dog.

21. Kerry Yeletsk`ty explained that this report Wee completely nntl'ue;, the Buehkil] police
examined Keny Yeletsl<iy end found no evidence of e. physical eonj`xontetion.

22. The Moore Township Po]ioo additionally examined the dog owned by Kerry Ye]etekiy
end agreed it feed not been beaten either.

23. Ken:y Yeletekiy additionally informed the police that Sergey Yeletekiy had not been
drinking to excess end was not intoxicated

24. Wl)ile Ken‘y Yeletsldy Walted by the side of the road to determine next steps of the
Pollce, she overheard the Buehldll end Moore Townehip Poliee exchanging jokes to the
effect that Sergey Yeletelcly was e “i"‘ *lcing Rnssien.”

25. Kerry Yeletskiy requested of the Moore Townebip Polioe officers that she be allowed to
take Sexgey Yeletel<iy home (slnoe the repott end potential charges wore false).

26. A Moore township ofdoer responded that since the Bnehkill Townehip Polioe had “stolen

their DUI suspeet,” they had no further say in the matter.

27, I<Lenry Yeletekiy need drove home where she encountered Geyeheok standing end

laughing with Moo:ce Township l’olioe officers.

 

 

 

 

28. Sergey Yeletskiy was taken to tile Northempton .DUI Center and placed in e root'n.

29. While in custody Yeletsldy wes told to sign s piece ofpsper.

30. Sergey Yelctsidy advised he was not stu‘c What they were requesting he sign and asked
for a lawyer and a Russ.ten Trs.nsletor before signing the pepet'.

31. The officer refused Yeletskiy’s request and picked hire up to telco him out of the room
and smashed Sergey Yeletsloly’s heed into a door.

32. Sergey Yelctsl<iy Wes subsequently released end rctm‘ned home

33. Sergey itelstsi<iy had s large contusion on his head end deep lacerations to his Wists.

34. Sergey Yeletsldy was transported to the lehigh Valley Hospital Center and was
diagnosed with e concession

` 35. Since the time of these injuries inflicted by the Defendsnts*, Serge}' Yeletskiy has
suffered constant he edsciies, frequent dizzy spells, and recurring boats of depression

36, Snbseqnentlir, Sergey Yeletskly’s IJUI charge Was expunged

37. As o direct and proximate result of Defendsnts’ ndsoonduct, Bergey Yeletskiy suffered

physical injm‘y, signiiiosnt financial loss and severe emotional distress

C()Q§jlf §

MALICIOUS PROSE CUTIUN/FALSE ARREST AND WRONGFUL IMPR`[SONMENT

38. Plalntift` incorporates by reference all prior paragraphs ss if fully set forth ct length
herein.

39. At the time ofDefendants’ investigation arrest charges and imprisonment PleintiH bed
not committed any infraction giving rise to the probable eanselreesonshle suspicion
end/or to legally justify the nicorceration end clierges.

40. Defencients’ actions stated above, inter ofto, were committed under the color of state low

end Wero violations of Pleintift”s clesrly estsbiished end well~settled Constitotional end

 

 

 

 

other legal rights

41. Defendants caused Plalntl‘d to suffer a malicious prosecution by their wrongle conduct
in subjecting .Plaintlfi` to false criminal charges all in violation oftlie Fotn'th and
Fourteenth Amencimcnts to the United Statcs Constitution, and State law.

42. Defendants instituted criminal action against Plaintiff by Way of failing to properly
investigate the alleged obstructing administration oflawlgovcimnent nanct.ion.

43. Plaintlii§`, Sergey Yeletsicy, was seized at the time lie was arrested Del"endants did not
have probable cause nor any cause to arrest, cnarge, and!oi' accuse Plalntiff oftho
criminal acts.

44. Det`endants arrested and falsely imprisoned Plalntii&`, Sexgey Yeletslcy, without probable
cause nor any cause denying him due process

45. 'l‘o pe1potuate its misconduct, Dofcnciants, clothed themselves with color of state
authority
WBJI§REFOR.E, l’lainti;EE respectftu requests this Honoruble Court enter judgment in

his favor and against Defcndants, individualiy, jointly and severally, in an amount in excess of
ti;l’cythousand dollars ($50,000.00), plus such other and further relief as this Honotahle C`ourt
deems necessary and just, and to Ordor the following relief:

a. Statutoiy Dntnages;

b. Punitivc Datnages;

c. Compensatozy Dumages, including

i. Actual Datnages for financial and physical lnjuries, including but not
limited to wage loss and loss of coming oapaoity, and emotional distress;

and

 

 

 

d. Attorneys’ fees and expenses, costs of suit, and equitable relief

C‘OUNT I[
E;§CESSIVE FORCE/ASSAULT AND BATTERY

46. Plaintiff incorporates by reference all prior paragraphs as iffully set forth et length
herein

47. At the time of Dei`endnnte’ concluet, Plei.otiff had not eorrmeitted any infraction othelwise
to legally justify the force need by Defendents.

48. Det`endants’ ectione stated above, inter olie, were committed under color of state law end
were violations of Plaintiff"s clearly established end weil settled Constitutionel and other
legal rights.

49. Defendamts placed Plaintit`f‘ in fear of physical harm end contact and then physically
harmed and contacted Plaintiffwithout justification Plaintift`suft`ered excessive force by
their Wrongful conduct all in violation of the Fourth, Eighth, end Fourteenth Amendments
of the United Stetes Constitution, actionable through 42 U.S.C. §1983, et seq., and at
Common Law.

WIHBR§EFORE, Plaintitf` respectfizlly requests this Honoroble Court enter judgment in
his favor end against Defendents, individually, jointly and severally, in en amount in excess of
fifty thousand dollars ($50,000.00), plus such other and further relief as this Honorzcble Court
deems necessary and just, end to Order the following reliefi

a, Sta,totory Dernages;
b. Punitive Demages;
o. Ciompensatory Demeges, including
i. Actuel Damages for financial and physical injmiee, including but not

limited to wage loss endless of earning oopeeity, and emotional dietre:asg

 

 

 

end
d. Attorneys’ fees and expenses, costs of suit, and equitable relici`.
COUNT 11
M. snell
50. PlaintM incorporates by reference all prior paragraphs as iffolly set forth at length

herein

51. Prior to the events described herein, Det`enciants developed end maintained policies

practicee, procedures end customs exhibiting deliberate indifference to the Constitutional

rights of`persons, which caused violations ofPiaintitt”s constitutional and other rights
Speciiicelly, Defenciant’s imprisoned based on falsified docruncnt, use excessive force,
end deny his freedom, including by a failure to investigate properly
52. The above described acts or omissions by Defendants, demonstrated a deliberate
indifference to the rights of incer cerated citizens, such es Plaintift`, and wore the cause of
the violations of Plsintift”s rights as set forth herein
53. I’iaintif[" suffered harm due to Defendants’ conduct
WIEREFORE, Plaintiff respectfully requests this Honorablc Court enter judgment in
his favor end against Defendsnts,_ wdividually, jointly and severally, in an amountin excess of
fifty thousand dollars ($50,000.00), plus such other and further relief as this Honora.ble Court
deems necessary and jnst, end to Order the following relief:
s. Stetutory I)ameges;
h. Punitive Damages;
c. Con:lpensatoij,r Darnages, inciud ing:
i. Actual Dsmages for financial end physical injuries including bet not

limited to wage loss endless of earning capecity, end emotional distress;

 

 

 

and

d. Attomeys’ fees and expenses, costs of suit, and equitable relief

Respeottially Subtnitted,

WEI.SBHRG LAW SCHA.FKO.`PP AW, LLC
"\
/M: Matz‘helg ['Eelsbcrg é,é¢/V/ /

' Matthew Welsberg, Esquire §§W 1§éherikopf, Bsquire /"/
Attorney for Pleintiff` ttomey fo Plaintift`
DATED; [~';2 0;75? - DATED: Z~J>’L?--/y

 

 

 

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.Sergey ’Yelet'skiy

 

 

 

 

